     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.517 Page 1 of 20



 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11     NEIL HAMMAN and MICHAEL                            Case No.: 22-cv-593-MMA (MSB)
       STEWART, individually and on behalf of
12
       all others similarly situated,                     ORDER GRANTING IN PART AND
13                                      Plaintiffs,       DENYING IN PART DEFENDANT’S
                                                          MOTION TO DISMISS
14     v.
15                                                        [Doc. No. 18]
       CAVA GROUP, INC.,
16                                     Defendant.
17
18
19
20
21          In this putative class action, Plaintiffs Neil Hamman and Michael Stewart
22    (“Plaintiffs”) allege that Defendant Cava Group, Inc. (“Defendant”) failed to disclose the
23    presence of “heightened levels of organic fluorine and unsafe per-and polyfluoroalkyl
24    substances” (“PFAS”) contained in the packaging of its grain and salad bowls.
25    Doc. No. 12 (First Amended Complaint, the “FAC”) ¶ 1. On October 3, 2022, Defendant
26    filed a motion to dismiss Plaintiffs’ FAC in its entirety pursuant to Federal Rules of Civil
27    Procedure 12(b)(1) and 12(b)(6). Doc. No. 18. Plaintiffs filed an opposition, Doc.
28    No. 19, to which Defendant replied, Doc. No. 20. The Court found the matter suitable for

                                                      1
                                                                                22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.518 Page 2 of 20



 1    determination on the papers and without oral argument pursuant to Federal Rule of Civil
 2    Procedure 78(b) and Civil Local Rule 7.1.d.1. See Doc. No. 21. For the reasons set forth
 3    below, the Court GRANTS IN PART and DENIES IN PART Defendant’s motion to
 4    dismiss.
 5                                              I. BACKGROUND 1
 6           Defendant “operates Mediterranean ‘fast casual’ restaurants, where among other
 7    product offerings, patrons can build customized grains and greens bowls from a wide
 8    variety of foods.” Doc. No. 18-1 at 8.2 Plaintiffs purchased Defendant’s grain and salad
 9    bowls (the “Products”) “at numerous points over the past few years,” but most recently in
10    January and March 2022. FAC ¶¶ 20, 22. Plaintiffs allege that Defendant’s Products
11    “are unfit for human consumption” because their packaging “contain[s] heightened levels
12    of organic fluorine and unsafe” PFAS.3 Id. ¶ 2. Plaintiffs’ allegations are based on a
13    February 2020 study conducted by Mind the Store and Toxic-Free Future, a March 2022
14    article from Consumer Reports, and Plaintiffs’ own tests conducted in July 2022, which
15    all revealed high levels of organic fluorine in the Products’ packaging materials. Id.
16    ¶¶ 45–49, 57–61. Plaintiffs contend that “testing for organic fluorine is a valid method to
17    test for PFAS,” and that PFAS “are harmful even at very low levels.” Id. ¶¶ 13, 52, 62–
18    68.
19           Defendant’s in-store and website advertising did not feature warnings that the
20    Products “would contain dangerous levels of organic fluorine,” which is an indicator of
21
22
23    1
        Reviewing Defendant’s motion to dismiss, the Court accepts as true all facts alleged in the FAC and
      construes them in the light most favorable to Plaintiffs. See Snyder & Assocs. Acquisitions LLC v.
24    United States, 859 F.3d 1152, 1157 (9th Cir. 2017).
      2
25      All citations to electronically filed documents refer to the pagination assigned by the CM/ECF system.
      3
        Plaintiffs’ FAC also includes claims that Defendant’s Products “contain various cancer causing and
26    environmentally harmful biocides.” FAC ¶ 1. However, in their opposition to Defendant’s motion to
      dismiss, Plaintiffs state that they “do not oppose dismissal of their claims regarding biocides.” Doc.
27    No. 19 at 9 n.1. Accordingly, the Court GRANTS Defendant’s motion on that basis and DISMISSES
      Plaintiffs’ claims regarding biocides. As such, the Court focuses its analysis below on Plaintiffs’ claims
28    regarding PFAS.

                                                          2
                                                                                           22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.519 Page 3 of 20



 1    PFAS. Id. ¶¶ 33–38, 115. Plaintiffs contend that this was due to Defendant’s desire to
 2    maintain its health-conscious customer base. See id. ¶¶ 42–56.
 3          Plaintiffs assert that they saw, reviewed, and understood representations such as
 4    “healthy” and “sustainable” on Defendant’s website and in-store marketing materials, as
 5    well as in articles that included comments from Defendant’s chief executive officer, and
 6    that they relied upon the omission of warnings about the potential dangers of the Products
 7    containing PFAS when making the decision to purchase Defendant’s grain and salad
 8    bowls. Id. ¶¶ 20, 22, 35–42, 44, 120. Had they known the Products contained PFAS,
 9    Plaintiffs claim that they would not have purchased the Products or would have paid less
10    for them. Id. ¶¶ 20, 22. While they wish to purchase the Products in the future, they are
11    “unable to determine if the Products are actually healthy, safe, and sustainable” because
12    they cannot rely on the false representations in Defendant’s current advertising and
13    marketing scheme. Id. ¶¶ 21, 23.
14          Based on the foregoing, Plaintiffs initiated this action on behalf of themselves and
15    as representatives of all those similarly situated for: (1) Violation of California’s Unfair
16    Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200 et seq. (Count I);
17    (2) Violation of California’s Consumer Legal Remedies Act (“CLRA”), Cal. Bus. & Prof.
18    Code § 1750 et seq. (Count II); (3) Breach of Implied Warranty under the Song-Beverly
19    Consumer Warranty Act, Cal. Civ. Code § 1792 et seq., Cal. Com. Code § 2314 (Count
20    III); (4) Violation of California’s False Advertising Law (“FAL”), Cal. Bus. & Prof.
21    Code § 17500 et seq. (Count IV); (5) Fraud (Count V); (6) Constructive Fraud (Count
22    VI); (7) Fraudulent Inducement (Count VII); (8) Fraudulent Omission or Concealment
23    (Count VIII); (9) Fraudulent Misrepresentation (Count IX); (10) Negligent
24    Misrepresentation (Count X); (11) Quasi-Contract/Unjust Enrichment (Count XI); and
25    (12) Breach of Express Warranty (Count XII). See generally FAC.
26
27
28

                                                    3
                                                                                 22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.520 Page 4 of 20



 1                                             II. LEGAL STANDARDS
 2    A.        Rule 12(b)(1)4
 3              A party may challenge the court’s subject-matter jurisdiction through a motion
 4    filed pursuant to Federal Rule of Civil Procedure 12(b)(1). See Fed. R. Civ. P. 12(b)(1);
 5    see also White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000). Because “[f]ederal courts are
 6    courts of limited jurisdiction,” “[i]t is to be presumed that a cause lies outside this limited
 7    jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).
 8    Consequently, “the burden of establishing the contrary rests upon the party asserting
 9    jurisdiction.” Id.
10              “Rule 12(b)(1) jurisdictional attacks can be either facial or factual.” White, 227
11    F.2d at 1242. “A ‘facial’ attack accepts the truth of the plaintiff’s allegations but asserts
12    that they ‘are insufficient on their face to invoke federal jurisdiction.’” Leite v. Crane
13    Co., 749 F.3d 1117, 1121 (9th Cir. 2014) (quoting Safe Air for Everyone v. Meyer, 373
14    F.3d 1035, 1039 (9th Cir. 2004)). “The district court resolves a facial attack as it would a
15    motion to dismiss under Rule 12(b)(6): Accepting the plaintiff’s allegations as true and
16    drawing all reasonable inferences in the plaintiff’s favor, the court determines whether
17    the allegations are sufficient as a legal matter to invoke the court’s jurisdiction.” Id.
18    (citing Pride v. Correa, 719 F.3d 1130, 1133 (9th Cir. 2013)).
19              “A ‘factual’ attack, by contrast, contests the truth of the plaintiff’s factual
20    allegations, usually by introducing evidence outside the pleadings.” Id. (citing Safe Air
21    for Everyone, 373 F.3d at 1039; Thornhill Publ’g Co. v. Gen. Tel. & Elec. Corp., 594
22    F.2d 730, 733 (9th Cir. 1979)). “When the defendant raises a factual attack, the plaintiff
23    must support her jurisdictional allegations with ‘competent proof[]’” and “prov[e] by a
24    preponderance of the evidence that each of the requirements for subject-matter
25    jurisdiction has been met.” Id. (citing Hertz Corp. v. Friend, 559 U.S. 77, 96–97 (2010);
26
27
28    4
          Unless otherwise noted, all “Rule” references are to the Federal Rules of Civil Procedure.

                                                            4
                                                                                             22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.521 Page 5 of 20



 1    Harris v. Rand, 682 F.3d 846, 851 (9th Cir. 2012)). Generally, “if the existence of
 2    jurisdiction turns on disputed factual issues, the district court may resolve those factual
 3    disputes itself.” Id. at 1121–22 (citing Safe Air for Everyone, 373 F.3d at 1039–40;
 4    Augustine v. United States, 704 F.2d 1074, 1077 (9th Cir. 1983); Thornhill Publ’g, 594
 5    F.2d at 733).
 6          “Because standing . . . pertain[s] to a federal court’s subject-matter jurisdiction
 7    under Article III, [it is] properly raised in a motion to dismiss under Federal Rule of Civil
 8    Procedure 12(b)(1).” White, 227 F.3d at 1242 (citing Bland v. Fessler, 88 F.3d 729, 732
 9    n.4 (9th Cir. 1996)).
10    B.    Rule 12(b)(6)
11          “A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) for failure to
12    state a claim upon which relief can be granted ‘tests the legal sufficiency of a claim.’”
13    Conservation Force v. Salazar, 646 F.3d 1240, 1241–42 (9th Cir. 2011) (quoting
14    Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001)). “A district court’s dismissal for
15    failure to state a claim under Federal Rule of Civil Procedure 12(b)(6) is proper if there is
16    a ‘lack of a cognizable legal theory or the absence of sufficient facts alleged under a
17    cognizable legal theory.’” Id. at 1242 (quoting Balistreri v. Pacifica Police Dep’t, 901
18    F.2d 696, 699 (9th Cir. 1988)).
19          “Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a ‘short
20    and plain statement of the claim showing that the pleader is entitled to relief.’” Ashcroft
21    v. Iqbal, 556 U.S. 662, 677–78 (2009) (quoting Fed. R. Civ. P. 8(a)(2)). “[T]he pleading
22    standard Rule 8 announces does not require ‘detailed factual allegations,’ but it demands
23    more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Id. at 678
24    (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). In other words, “[a]
25    pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of
26    a cause of action will not do.’” Id. (quoting Twombly, 550 U.S. at 555).
27          “To survive a motion to dismiss, a complaint must contain sufficient factual
28    matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id.

                                                      5
                                                                                    22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.522 Page 6 of 20



 1    (quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility when the plaintiff
 2    pleads factual content that allows the court to draw the reasonable inference that the
 3    defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556).
 4    “[W]here the well-pleaded facts do not permit the court to infer more than the mere
 5    possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the
 6    pleader is entitled to relief.’” Id. at 679 (second alteration in original) (quoting Fed. R.
 7    Civ. P. 8(a)(2)).
 8          Additionally, allegations of fraud or mistake require the pleading party to “state
 9    with particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b).
10    The context surrounding the fraud must “be ‘specific enough to give defendants notice of
11    the particular misconduct . . . so that they can defend against the charge and not just deny
12    that they have done anything wrong.’” Kearns v. Ford Motor Co., 567 F.3d 1120, 1124
13    (9th Cir. 2009) (quoting Bly—Magee v. California, 236 F.3d 1014, 1019 (9th Cir. 2001)).
14    “Averments of fraud must be accompanied by the who, what, when, where, and how of
15    the misconduct charged. A party alleging fraud must set forth more than the neutral facts
16    necessary to identify the transaction.” Kearns, 567 F.3d at 1124 (internal quotation
17    marks omitted) (first quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th
18    Cir. 2003); and then quoting In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir.
19    1994), superseded by statute on other grounds).
20          “If a complaint is dismissed for failure to state a claim, leave to amend should be
21    granted ‘unless the court determines that the allegation of other facts consistent with the
22    challenged pleading could not possibly cure the deficiency.’” DeSoto v. Yellow Freight
23    Sys., Inc., 957 F.2d 655, 658 (9th Cir. 1992) (quoting Schreiber Distrib. Co. v. Serv-Well
24    Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986)). “A district court does not err in
25    denying leave to amend where the amendment would be futile.” Id. (citing Reddy v.
26    Litton Indus., 912 F.2d 291, 296 (9th Cir. 1990), cert. denied, 502 U.S. 921 (1991)).
27
28

                                                     6
                                                                                  22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.523 Page 7 of 20



 1          III. REQUEST FOR JUDICIAL NOTICE AND INCORPORATION-BY-REFERENCE
 2          As an initial matter, Defendant asks the Court to consider twelve exhibits—
 3    comprising various reports and articles about PFAS, documents from the U.S. Food and
 4    Drug Administration and the Environmental Protection Agency, an internet archive of a
 5    portion of Defendant’s website, and a court record from the Superior Court of the District
 6    of Columbia—in support of its motion to dismiss pursuant to the judicial notice and
 7    incorporation-by-reference doctrines. See Doc. Nos. 18-2, 20-1.
 8          While the scope of review on a motion to dismiss for failure to state a claim is
 9    limited to the complaint, a court may consider evidence on which the complaint
10    necessarily relies if: “(1) the complaint refers to the document; (2) the document is
11    central to the plaintiff[’s] claim; and (3) no party questions the authenticity of the copy
12    attached to the 12(b)(6) motion.” Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998
13    (9th Cir. 2010) (internal quotation marks and citations omitted). Furthermore, courts may
14    take judicial notice of publications introduced to “indicate what was in the public realm at
15    the time, not whether the contents of those articles were in fact true.” Von Saher v.
16    Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir. 2009) (citing
17    Premier Growth Fund v. All. Capital Mgmt., 435 F.3d 396, 401 n.15 (3d Cir. 2006)); see
18    also Brodsky v. Yahoo! Inc., 630 F. Supp. 2d 1104, 1111 (N.D. Cal. 2009) (“The Court
19    also grants Defendants’ request [for judicial notice] as to Exhibits 31 through 47, Yahoo!
20    Press releases, news articles, analyst reports, and third party press releases to which the
21    SAC refers, but not for the truth of their contents”). Additionally, courts can consider
22    documents under the “incorporation-by-reference” doctrine when a plaintiff “refers
23    extensively to the document or the document forms the basis of the plaintiff’s claim.”
24    Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1002 (9th Cir. 2018) (quoting United
25    States v. Ritchie, 342 F.3d 903, 907 (9th Cir. 2003)).
26          Here, Plaintiffs object only to the extent “Defendant uses its interpretation of [the
27    exhibits] . . . in an attempt to negate Plaintiffs’ allegations and to resolve factual disputes
28

                                                     7
                                                                                   22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.524 Page 8 of 20



 1    in its favor.” Doc. No. 19 at 11 n.2. Plaintiffs do not challenge the authenticity of any of
 2    Defendant’s referenced exhibits.
 3          Defendant contends that Exhibits 1, 2, 6, 7, 8, 9, 10, and 11 are appropriate
 4    subjects for consideration under the doctrine of incorporation-by-reference because
 5    Plaintiffs rely on them in the FAC, and that Exhibits 3, 4, 5, and Exhibit A are judicially
 6    noticeable public records. See Doc. Nos. 18-2 at 3–4, 20-1 at 1. The Court agrees and
 7    GRANTS Defendant’s request for incorporation-by-reference and judicial notice as to
 8    each of the twelve exhibits. However, the Court will not consider these exhibits for the
 9    truth of the matters asserted therein. See, e.g., In re Bare Escentuals, Inc. Sec. Litig., 745
10    F. Supp. 2d 1052, 1067 (N.D. Cal. 2010) (granting defendants’ request to take judicial
11    notice of SEC filings, but specifying that they will not “where inappropriate” be
12    considered for the truth of the matter asserted).
13                                          IV. DISCUSSION
14          In its motion to dismiss, Defendant argues that the FAC should be dismissed for
15    the following reasons: (1) this Court does not have subject-matter jurisdiction over this
16    case because Plaintiffs lack standing; and (2) because Plaintiffs have failed to state a
17    claim upon which relief can be granted for any of their twelve claims. Doc. No. 18-1 at
18    13–31. The Court addresses these arguments in turn.
19    A.    Standing
20          1.     Injury-in-Fact
21          First, Defendant facially attacks Plaintiffs’ standing, arguing that “they do not
22    plausibly allege a concrete and particularized injury-in-fact.” Doc. No. 18-1 at 13.
23    Plaintiffs respond that they satisfy the standard for Article III standing because they
24    suffered “economic damages stemming from their overpayment of a Product they
25    believed was safe, healthy, and sustainable based on Defendant’s misrepresentations and
26    omissions.” Doc. No. 19 at 17.
27          A plaintiff must establish standing to bring claims, which at an “irreducible
28    minimum” requires three elements: “(1) an injury that is (2) fairly traceable to the

                                                    8
                                                                                  22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.525 Page 9 of 20



 1    defendant’s allegedly unlawful conduct and that is (3) likely to be redressed by the
 2    requested relief.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 590 (1992). “A
 3    ‘quintessential injury-in-fact’ occurs when plaintiffs allege that they ‘spent money that,
 4    absent defendants’ actions, they would not have spent.” Zeiger v. WellPet LLC, 304 F.
 5    Supp. 3d 837, 846 (N.D. Cal. Jan. 17, 2018) (quoting Maya v. Centex Corp., 658 F.3d
 6    1060, 1069 (9th Cir. 2011)); see also Moreno v. Vi-Jon, LLC., No. 21-56370, 2022 WL
 7    17668457 (9th Cir. Dec.14, 2022) (“[Plaintiff] alleged that he wouldn’t have purchased
 8    or paid as much for [defendant’s] products if he had known the truth about their
 9    effectiveness. That is sufficient for an Article III injury.” (citations omitted)); Maisel v.
10    S.C. Johnson & Son, Inc., No. 21-CV-00413-TSH, 2021 WL 1788397, at *3 (N.D. Cal.
11    May 5, 2021) (“[B]ecause [plaintiff] alleges she purchased the [defendant’s product] and
12    would not have if she knew they were mislabeled, the Court finds she has Article III
13    standing to bring this case.”); Berke v. Whole Foods Mkt., Inc., No. CV 19-7471 PSG
14    (KSX), 2020 WL 5802370, at *6 (C.D. Cal. Sept. 18, 2020) (same).
15          In Zeiger, the court found that the plaintiffs sufficiently pleaded injury-in-fact
16    where they alleged that the pet food they bought “contain[ed] ‘material and significant
17    levels of arsenic and lead,’ ‘known dangerous toxins for both humans and animals’”; that
18    the defendants “knew or should have known of the presence of these contaminants”; that
19    the products contained no “warning label or disclos[ure] [of] the presence of these
20    contaminants” but did “contain various health claims and promises”; and that the
21    plaintiffs “would not have purchased the food if [any level of contaminants] was fully
22    disclosed.” 304 F. Supp. 3d at 842, 846.
23          Like the plaintiffs in Zeiger, here Plaintiffs plead economic injury by asserting that
24    they would not have purchased Defendant’s Products or would have paid less for them
25    had they known the truth about the Products—that their packaging contained “heightened
26    levels of organic fluorine,” an indicator of PFAS. FAC ¶ 1. This is plausible because
27    Plaintiffs allege that based on the Consumer Reports article, similar studies and reports,
28    and their own tests, the Products are likely to contain PFAS and that PFAS are dangerous

                                                     9
                                                                                  22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.526 Page 10 of 20



 1     even in small quantities. Id. ¶¶ 13, 45–49, 52, 57–68. Overall, Defendant’s arguments
 2     largely go to the merits of Plaintiffs’ claims, which is inappropriate at the motion to
 3     dismiss stage. Therefore, accepting as true all material allegations in the FAC and
 4     construing them in favor of the complaining party, the Court finds Plaintiffs have
 5     successfully pleaded economic injury for standing. See Warth v. Seldin, 422 U.S. 490,
 6     501 (1975); see also Tyler v. Cuomo, 236 F.3d 1124, 1131 (9th Cir. 2000).
 7           2.     Injunctive Relief
 8           Second, Defendant argues that Plaintiffs lack Article III standing to seek injunctive
 9     relief because, “now wise to their alleged deception,” Plaintiffs’ “continued desire to
10     purchase the Products” is “palpably implausible.” Doc. No. 18-1 at 21. The Court
11     disagrees.
12           To establish standing for injunctive relief, a plaintiff must plead a “threat of injury”
13     that is “actual and imminent, not conjectural or hypothetical.” Davidson v. Kimberly-
14     Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018) (quoting Summers v. Earth Island Inst.,
15     555 U.S. 488, 493 (2009)). Once plaintiffs have been wronged, they are entitled to
16     injunctive relief only if they can show that they face a “real or immediate threat that
17     [they] will again be wronged in a similar way.” Mayfield v. United States, 599 F.3d 964,
18     970 (9th Cir. 2010) (citations and internal punctuation omitted). “Where standing is
19     premised entirely on the threat of repeated injury, a plaintiff must show ‘a sufficient
20     likelihood that he will again be wronged in a similar way.’” Davidson, 889 F.3d at 967
21     (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983)). “[A] previously
22     deceived customer may have standing to seek an injunction against false advertising or
23     labeling” based on “inability to rely on the advertising in the future,” “even though the
24     consumer now knows or suspects that the advertising was false at the time of the original
25     purchase, because the consumer may suffer an ‘actual and imminent, not conjectural or
26     hypothetical’ threat of future harm.” Id. at 967, 969 (quoting Summers, 555 U.S. at 493).
27     “Knowledge that the advertisement or label was false in the past does not equate to
28     knowledge that it will remain false in the future.” Id.; see also Brown v. Van’s Int’l

                                                    10
                                                                                  22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.527 Page 11 of 20



 1     Foods, Inc., No. 22-CV-00001-WHO, 2022 WL 1471454, at *11 (N.D. Cal. May 10,
 2     2022) (applying the Davidson rule to omissions on labels).
 3            Here, Plaintiffs allege that they would like to purchase Defendant’s Products in the
 4     future, but they are “unable to determine if the Products are actually healthy, safe, and
 5     sustainable” because they cannot rely on the representations in Defendant’s current
 6     advertising and marketing scheme that omit any reference to PFAS. FAC ¶¶ 21, 23, 123.
 7     At this stage of the proceedings, the Court must presume the truth of Plaintiffs’
 8     allegations and construe the allegations in their favor. See Davidson, 889 F.3d at 971
 9     (citing Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010)). Plaintiffs’
10     allegations are more concrete than claiming they would merely “consider” buying
11     Defendant’s Products at a later date. See Lanovaz v. Twinings N. Am., Inc., 726 F. App’x
12     590, 591 (9th Cir. 2018) (holding that the plaintiff’s “would ‘consider buying’”
13     allegations and a mere intent to purchase the defendant’s products in the future were
14     insufficient to sustain Article III standing); Loomis v. Slendertone Distribution, Inc., 420
15     F. Supp. 3d 1046, 1077 (S.D. Cal. Nov. 6, 2019) (finding that vague “would consider
16     purchasing” allegations coupled with the speculative nature of the at-issue product ever
17     achieving its claimed representations was insufficient to sustain Article III standing).
18     Therefore, Plaintiffs have plausibly pleaded a threat of future injury sufficient to
19     demonstrate Article III standing to seek injunctive relief.
20            Consequently, the Court DENIES Defendant’s motion to dismiss on Rule 12(b)(1)
21     grounds.
22     B.     Sufficiency of the FAC
23            As to its motion to dismiss under Rule 12(b)(6), Defendant advances three primary
24     arguments: (1) Plaintiffs do not satisfy Rule 9(b) 5; (2) Plaintiffs fail to plead a claim for
25
26
       5
         Defendant relies on Rule 9(b) in its motion to dismiss and makes only passing reference to Rule 8. See
27     Doc. No. 18-1 at 27. As discussed below, Plaintiffs do not dispute that their claims are grounded in
       fraud and that Rule 9(b) governs. See Doc. No. 19 at 30 n.11. Accordingly, the Court focuses its
28     analysis on Rule 9(b) rather than Rule 8.

                                                          11
                                                                                          22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.528 Page 12 of 20



 1     fraudulent omission; and (3) Plaintiffs’ consumer protection claims under the CLRA,
 2     UCL, and FAL fail under the “reasonable consumer” test. See Doc. No. 18-1 at 21–31.
 3     The Court addresses each argument below.
 4           1.     Rule 9(b)
 5           Where a plaintiff alleges fraud in the complaint, Rule 9(b) requires a plaintiff to
 6     “state with particularity the circumstances constituting fraud or mistake. Malice, intent,
 7     knowledge, and other conditions of a person’s mind may be alleged generally.” Fed. R.
 8     Civ. P. 9(b). A party must set forth “the time, place, and specific content of the false
 9     representations as well as the identities of the parties to the misrepresentation,” also
10     referred to as “the who, what, when, where, and how” of the fraudulent conduct charged.
11     Odom v. Microsoft Corp., 486 F.3d 541, 553 (9th Cir. 2007) (internal quotation marks
12     omitted); Vess, 317 F.3d at 1106. Rule 9(b) also applies to claims that are “grounded in
13     fraud” or “sound in fraud.” Vess, 317 F.3d at 1103–04. Asserting that the defendant
14     “‘knowingly and purposefully failed to disclose’ the alleged defect is subject to Rule
15     9(b), since that amounts to an allegation of knowledge of falsity and intent to defraud.”
16     Shin v. BMW of North America, No. CV 09–00395 AHM (AJWx), 2009 WL 2163509, at
17     *4 (C.D. Cal. July 16, 2009) (citation omitted).
18           Here, all twelve of Plaintiffs’ causes of action either allege fraud or sound in fraud
19     because, as Plaintiffs concede, their allegations are premised on “a unified course of
20     fraudulent conduct.” Doc. No. 19 at 30 n.11. Therefore, each claim is subject to the
21     heightened pleading standard of Rule 9(b). See Vess, 317 F.3d at 1103–04 (holding that
22     when a plaintiff “allege[s] a unified course of fraudulent conduct and rely entirely on that
23     course of conduct as the basis of a claim . . . the claim is said to be ‘grounded in fraud’ or
24     to ‘sound in fraud,’ and the pleading of that claim as a whole must satisfy the
25     particularity requirement of Rule 9(b)”).
26           According to Plaintiffs, Defendant represents that its Products are safe, healthy,
27     and sustainable, id. ¶ 33, through its website, in-store signage, and specific comments
28     made by Defendant’s chief executive officer, id. ¶¶ 35–42, 120. Plaintiffs plead that

                                                     12
                                                                                  22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.529 Page 13 of 20



 1     these representations were made during the putative class periods, including prior to the
 2     time Plaintiffs purchased the Products, in January and March 2022. FAC ¶¶ 20, 22, 121.
 3     Further, Plaintiffs maintain that these material representations are false and misleading
 4     because the Products’ packaging contains PFAS, which are harmful. Id. ¶¶ 45–58, 62–
 5     68, 77–103, 123. Plaintiffs also assert in the FAC that Defendant knowingly made these
 6     misrepresentations so that consumers would purchase its Products. Id. ¶ 43, 123. The
 7     Court concludes that this satisfies “‘the who, what, when, where, and how’ of the
 8     misconduct charged.” Kearns, 567 F.3d at 1124 (quoting Vess, 317 F.3d at 1106).
 9           Defendant argues that Plaintiffs’ allegations regarding PFAS are not specific
10     enough to satisfy the Rule 9(b) pleading standard. Doc. No. 18-1 at 27–28. Specifically,
11     Defendant complains that Plaintiffs fail to identify “what chemicals present in their own
12     purchases form the purported basis of liability.” Id. at 28. In response, Plaintiffs argue
13     that they are not required at this stage to “identify each of the precise PFAS in the
14     Products” and that Defendant’s argument is actually a factual dispute. Doc. No. 19 at 30.
15     On this point, the Court agrees. Defendant “seems to be arguing predominantly about the
16     merits of Plaintiffs’ claims, which is inappropriate at the motion to dismiss stage.”
17     Kanan v. Thinx Inc., No. CV2010341JVSJRPX, 2021 WL 4464200, at *5 (C.D. Cal. June
18     23, 2021).
19           Defendant also argues that “Plaintiffs fail to allege with particularity that they
20     relied on any of the alleged misrepresentations.” See Doc. No. 18-1 at 28–29. Reliance
21     “occurs when the defendant’s misrepresentation is an immediate cause of the plaintiff’s
22     conduct, altering his legal relations, and when, absent such representation, the plaintiff
23     would not, in all reasonable probability, have entered into the transaction.” Mooradian v.
24     Wright Med. Tech., Inc., No. 14CV02445-MMA (DHB), 2015 WL 12513465, at *3 (S.D.
25     Cal. Feb. 25, 2015). The Court finds that Plaintiffs adequately plead reliance because
26     they allege that they “saw and relied on Defendant’s marketing, including its in-store
27     signage and website material” and would have acted differently if they knew about the
28     existence of PFAS in the Products. FAC ¶¶ 20, 22, 44.

                                                    13
                                                                                  22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.530 Page 14 of 20



 1           In sum, “[t]o comply with Rule 9(b), allegations of fraud must be specific enough
 2     to give defendants notice of the particular misconduct which is alleged to constitute the
 3     fraud charged so that they can defend against the charge and not just deny that they have
 4     done anything wrong.” Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007)
 5     (citations and quotations omitted). Here, the Court finds that Plaintiffs give Defendant
 6     notice of the alleged misconduct—Defendant’s material misrepresentations in their
 7     marketing—including framing their allegations under the Rule 9(b) standard. See FAC
 8     ¶¶ 119–125. Accordingly, the Court will not dismiss Plaintiffs’ claims based on a failure
 9     to satisfy Rule 9(b).
10           2.     Fraudulent Omission
11           As an initial matter, the Court finds that Plaintiffs’ common law claims—Counts V
12     through XII (including their claim for fraudulent concealment or omission)—must be
13     dismissed because Plaintiffs fail to identify the applicable state laws. See Romero v.
14     Flowers Bakeries, LLC, No. 14-CV-05189-BLF, 2021 WL 2165796, at *12 (N.D. Cal.
15     Feb. 8, 2016) (“[D]ue to variances among state laws, failure to allege which state law
16     governs a common law claim is grounds for dismissal.”) However, the Court will
17     nonetheless analyze Plaintiffs’ fraudulent omission claim, assuming it is brought under
18     California law.
19           California law recognizes “an omission theory of consumer fraud.” Hodsdon v.
20     Mars, Inc., 891 F.3d 857, 861 (9th Cir. 2018). “[B]ut to be actionable the omission must
21     be contrary to a representation actually made by the defendant, or an omission of a fact
22     the defendant was obliged to disclose.” Id. Additionally, “[t]he required elements for
23     fraudulent concealment are (1) concealment or suppression of a material fact; (2) by a
24     defendant with a duty to disclose the fact to the plaintiff; (3) the defendant intended to
25     defraud the plaintiff by intentionally concealing or suppressing the fact; (4) the plaintiff
26     was unaware of the fact and would not have acted as he or she did if he or she had known
27     of the concealed or suppressed fact; and (5) plaintiff sustained damage as a result of the
28

                                                     14
                                                                                  22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.531 Page 15 of 20



 1     concealment or suppression of the fact.” Graham v. Bank of America, N.A., 226 Cal.
 2     App. 4th 594, 606 (2014) (citation omitted).
 3            There are four circumstances in which a duty to disclose may arise: “(1) when the
 4     defendant is in a fiduciary relationship with the plaintiff; (2) when the defendant had
 5     exclusive knowledge of material facts not known to the plaintiff; (3) when the defendant
 6     actively conceals a material fact from the plaintiff; and (4) when the defendant makes
 7     partial representations but also suppresses some material facts.” LiMandri v. Judkins, 52
 8     Cal. App. 4th 326, 336 (1997).
 9            Defendant argues that Plaintiffs’ fraudulent omission claim fails because it did not
10     have any duty to disclose. Doc. No. 18-1 at 30. The Court agrees.
11            Plaintiffs first appear to argue that they need not allege a duty to disclose because
12     they bring their fraudulent omission claim under a theory of “partial omission.” Doc.
13     No. 19 at 32. This is not the law. As stated above, partial omission (also referred to by
14     courts as “partial representation”) is just one of the circumstances in which a duty to
15     disclose may arise in the context of fraudulent omission. See LiMandri, 52 Cal. App. 4th
16     at 336. Further, the Court finds that Plaintiffs fail to allege any partial omission that
17     could form the basis of Defendant’s duty to disclose. From its reading of the FAC, the
18     Court finds that Plaintiffs allege a unified course of fraudulent conduct under a theory of
19     material misrepresentation, i.e., that Defendant holds its Products out as healthy and safe
20     when, in fact, they are not because they contain PFAS. 6 Plaintiffs cannot allege a partial
21     omission triggering a duty to disclose where they only claim that Defendant’s marketing
22     materials are outright false. See Anderson v. Apple Inc., 500 F. Supp. 3d 993, 1013 (N.D.
23     Cal. 2020) (“Indeed, the entire theory of a case based on partial omissions is that what is
24     disclosed is in some sense true but that the whole truth is missing.”) To be sure, all
25     misrepresentations are also omissions of the facts that make the statement untrue. Cf.
26
27
       6
        The Court already found that Plaintiffs’ claims based on materials misrepresentations have been
28     adequately pleaded. See supra Section IV.B.1.

                                                         15
                                                                                         22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.532 Page 16 of 20



 1     Little v. First Cal. Co., 532 F.2d 1302, 1304 n.4 (9th Cir. 1976). Plaintiffs’ theory of the
 2     case is not altered whether they describe the alleged misconduct as an outright
 3     misrepresentation of the Products as “healthy” or as an omission of the PFAS, which
 4     makes the “healthy” statements untrue. Thus, it appears that omission of the truth which
 5     undermines the alleged misrepresentations here are not “partial omissions,” see Doc. No.
 6     19 at 32–33, creating a duty to disclose under California law.
 7           Plaintiffs also argue that Defendant had a duty to disclose based on Defendant’s
 8     exclusive knowledge of material facts and that Defendant actively concealed material
 9     facts. Doc. No. 19 at 33. Plaintiffs do not allege that Defendant had a duty to disclose
10     based on any fiduciary duty.
11           First, Plaintiffs allege that Defendants had exclusive knowledge of material facts
12     and cite to paragraph 167 of the FAC for the proposition that “Defendant has exclusive
13     knowledge of the Product[s’] composition, which was not known to Plaintiffs or Class
14     Members.” Doc. No. 19 at 33. This proposition alone does not plausibly support the
15     allegation that Defendant had exclusive knowledge that the Products contained PFAS. In
16     fact, Plaintiffs’ own allegations reveal that Defendants did not have “exclusive
17     knowledge” of the existence of PFAS in their Products. See Wolph v. Acer Am. Corp.,
18     No. C 09–01314 JSW, 2009 WL 2969467, at *4 (N.D. Cal. Sept. 14, 2009) (“[b]ased on
19     Plaintiff[’s] own allegations, Plaintiff [has] not alleged facts that show [Defendants] had
20     exclusive knowledge of the [omitted] material facts and that Plaintiff[] could not have
21     reasonably discovered such facts.”); see also Stickrath v. Globalstar, Inc., No. C07–1941
22     THE, 2008 WL 344209, at *4 (N.D. Cal. Feb. 6, 2008) (allegations in complaint do not
23     appear to support an allegation of exclusivity because Plaintiffs allege disclosure by
24     Defendant “in public filings” and in “an application with the FCC”). For example,
25     Plaintiffs refer to studies conducted by Mind the Store and Toxic-Free Future in 2020,
26     which revealed Defendant’s packaging contained PFAS. FAC ¶¶ 45–49. Additionally,
27     Plaintiffs’ reference the archive from Defendant’s website wherein Defendant
28     acknowledges that its Products’ packaging contains PFAS. Id. ¶ 35. Overall, these

                                                    16
                                                                                 22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.533 Page 17 of 20



 1     allegations demonstrate that the material facts alleged—the existence of PFAS in the
 2     Products’ packaging—were not within the exclusive knowledge of Defendant but
 3     available to the public. Therefore, Plaintiffs fail to assert a duty to disclose based on
 4     exclusive knowledge of a material fact.
 5           Next, as to Plaintiffs’ allegation that Defendants actively concealed material facts
 6     from them, Plaintiff must allege specific “affirmative acts on the part of the [D]efendant[]
 7     in hiding, concealing or covering up the matters complained of.” Herron v. Best Buy Co.
 8     Inc., 924 F. Supp. 2d 1161, 1176 (E.D. Cal. 2013) (quoting Lingsch v. Savage, 213 Cal.
 9     App. 2d 729 734 (1963)). As with exclusive knowledge, “generalized allegations with
10     respect to . . . active concealment” will not do. Id. (citing Hovsepian v. Apple, Inc., No.
11     08–5788 JF (PVT), 2009 WL 5069144, at *3 (N.D. Cal. Dec. 17, 2009)). Here, Plaintiffs
12     make general conclusory allegations of active concealment, see Doc. No. 19 at 33, FAC
13     ¶¶ 136, 137, without specific facts that Defendant actively tried to conceal the presence
14     of PFAS in the Products. Therefore, Plaintiffs have failed to assert a duty to disclose
15     based on active concealment. See Herron, 924 F.Supp.2d at 1176 (granting motion to
16     dismiss on active concealment allegation based on general assertion that defendants
17     “actively concealed material facts from Plaintiff and the Class”).
18           Thus, because Plaintiffs have failed to assert a duty to disclose, the Court
19     GRANTS Defendant’s motion to dismiss as to Plaintiffs’ claims premised on fraudulent
20     omission. Additionally, as stated above, the Court DISMISSES Plaintiffs’ common law
21     claims (Counts V through XII) for failure to identify the applicable state laws.
22           3.     The Reasonable Consumer Test and the UCL, CLRA, and FAL
23           Defendant makes two arguments in favor of dismissal of Plaintiffs’ UCL, CLRA,
24     and FAL claims. Doc. No. 18-1 at 22–26. First, Defendant asserts that no reasonable
25     consumer would read its marketing, which includes statements such as “healthy,” and
26     conclude that their “purchases were certain to be free of any PFAS.” Id. at 23. Second,
27     Defendant argues that Plaintiffs’ allegations that PFAS are “widespread” throughout the
28     environment “foreclose[s] [their] theory of reasonable consumer expectations.” Id. at 26.

                                                     17
                                                                                  22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.534 Page 18 of 20



 1     Defendant claims that because “Plaintiffs understand ‘highly persistent’ PFAS well
 2     enough to stay alert to even their potential presence in consumer products,” it is
 3     implausible then that they would expect “no chance that some form of PFAS might” exist
 4     in Defendant’s Products. Id. at 26–27.
 5           California has enacted several consumer protection statutes to protect its citizens
 6     from unfair, deceptive, or fraudulent business practices. California’s UCL prohibits any
 7     “unlawful, unfair or fraudulent business act or practice.” Cal. Bus. & Prof. Code
 8     § 17200. California’s CLRA prohibits “unfair methods of competition and unfair or
 9     deceptive acts or practices.” Cal. Civ. Code § 1770. Finally, California’s FAL prohibits
10     any “unfair, deceptive, untrue or misleading advertising,” Cal. Bus. & Prof. Code
11     § 17500, and any FAL violation amounts to a UCL violation. See Williams v. Gerber
12     Prod. Co., 552 F.3d 934, 938 (9th Cir. 2008) (quoting Kasky v. Nike, Inc., 45 P.3d 243,
13     250 (2002)). Courts often analyze claims under the fraudulent prong of the UCL, FAL,
14     and CLRA together “because they share similar attributes.” In re Sony Gaming Networks
15     & Customer Data Sec. Breach Litig., 996 F. Supp. 2d 942, 985 (S.D. Cal. 2014). Claims
16     under all three of these statutes are subject to the “reasonable consumer test.” Williams,
17     552 F.3d at 938 (citing Freeman v. Time, Inc., 68 F.3d 285, 289 (9th Cir. 1995)). The
18     reasonable consumer test requires a probability that a “significant portion of the general
19     consuming public or of targeted consumers, acting reasonably in the circumstances, could
20     be misled.” Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th Cir. 2016) (internal quotation
21     marks omitted). At the pleading stage, courts have dismissed cases under the reasonable
22     consumer test only in select circumstances, particularly where the “alleged violations of
23     the UCL, FAL, and CLRA are simply not plausible.” Ham v. Hain Celestial Grp., Inc.,
24     70 F. Supp. 3d 1188, 1193 (N.D. Cal. 2014). “[I]f common sense would not lead anyone
25     to be misled, then the claim may be disposed of at a motion to dismiss stage.” Moore v.
26     Mars Petcare US, Inc., 966 F.3d 1007, 1018 (9th Cir. 2020).
27           Plaintiffs premise their claims on the theory that the marketing materials they
28     relied on in purchasing Defendant’s Products are misleading because they fail to disclose

                                                    18
                                                                                 22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.535 Page 19 of 20



 1     that they contain organic fluorine, an indicator of PFAS, while claiming that the Products
 2     are “healthy” and “sustainable.” See generally FAC. How reasonable consumers would
 3     interpret Defendant’s representations in its marketing is a question of fact, and not a
 4     question that the court can resolve at this stage. See Zeiger, 304 F. Supp. 3d at 852
 5     (“Plaintiffs have provided an actionable theory why the Products are unsafe and why the
 6     labels are misleading; whether plaintiffs can prove their theory is a separate question that
 7     [the court] cannot resolve at [the motion to dismiss] stage.”) Accepting the allegations in
 8     the FAC as true, the Court finds that Plaintiffs sufficiently allege that reasonable
 9     consumers could interpret, and that Plaintiffs did interpret, Defendant’s representations in
10     their marketing to mean that the Products were “healthy” and “safe for use as it relates to
11     human exposure” to PFAS. See FAC ¶¶ 20, 22; Dawood v. Gamer Advantage LLC, No.
12     22-cv-00562-WBS-KJN, 2022 WL 3108846, at *2 (E.D. Cal. Aug. 4, 2022) (finding that,
13     at the motion to dismiss stage, a reasonable consumer could interpret defendant’s
14     representations that a product was safe to mean that it was free of PFAS). Accordingly,
15     the Court DENIES Defendant’s motion to dismiss based on this argument.
16           As a final note, it appears that Defendant focuses on the fraudulent prong of the
17     UCL and does not directly challenge Plaintiffs’ claims under the UCL’s unlawful and
18     unfair prongs. Because the analysis of these two sub-theories is distinct, see Stewart v.
19     Kodiak Cakes, LLC, 537 F. Supp. 3d 1103, 1153 (S.D. Cal. 2021), the Court briefly
20     addresses them.
21           First, because the Court has found that Plaintiffs stated claims for violations of the
22     FLA and the CLRA, these claims may serve as the predicate violations for a claim under
23     the UCL’s unlawful prong. See Zeiger, 304 F. Supp. 3d at 852 (holding CLRA and FAL
24     claims may serve as predicate violations for a claim under the UCL’s unlawful prong).
25     Therefore, to the extent Defendant also challenges this claim, its motion to dismiss is
26     DENIED.
27           Second, although there is an absence of clarity on how to define unfairness in the
28     consumer fraud context, the Ninth Circuit has instructed that courts must “balance the

                                                     19
                                                                                  22-cv-593-MMA (MSB)
     Case 3:22-cv-00593-MMA-MSB Document 26 Filed 02/08/23 PageID.536 Page 20 of 20



 1     harm to the consumer against the utility of the defendant’s practice.” Lozano v. AT &T
 2     Wireless Servs. Inc., 504 F.3d 718, 736 (9th Cir. 2007). Here, the Court has found that
 3     Plaintiffs plausibly allege that a reasonable consumer could be deceived by Defendant’s
 4     representations or lack thereof regarding PFAS. Construing Plaintiffs’ allegations in the
 5     light most favorable to them, these allegations outweigh the utility of Defendant’s current
 6     marketing or the burden that would be placed on Defendant to change its marketing
 7     materials. Accordingly, to the extent Defendant challenges Plaintiffs’ claim under the
 8     unfair prong, its motion to dismiss is also DENIED.
 9                                          V. CONCLUSION
10           For the foregoing reasons, the Court GRANTS IN PART Defendant’s motion and
11     DISMISSES Plaintiffs’ claims regarding biocides and their common law causes of action
12     (Counts V through XII) with leave to amend. The Court DENIES the motion to dismiss
13     in all other respects. Plaintiffs may file a second amended complaint on or before
14     March 1, 2023. Any second amended complaint will be the operative pleading, and
15     therefore Defendant must respond within the time prescribed by Federal Rule of Civil
16     Procedure 15. Any claim not re-alleged in the second amended complaint will be
17     considered waived. See CivLR 15.1; Hal Roach Studios, Inc. v. Richard Feiner & Co.,
18     Inc., 896 F.2d 1542, 1546 (9th Cir. 1989) (“[A]n amended pleading supersedes the
19     original.”); Lacey v. Maricopa Cnty., 693 F.3d 896, 928 (9th Cir. 2012) (noting that
20     claims dismissed with leave to amend which are not re-alleged in an amended pleading
21     may be “considered waived if not repled”).
22           IT IS SO ORDERED.
23     Dated: February 8, 2023                       _____________________________
24                                                   HON. MICHAEL M. ANELLO
25                                                   United States District Judge

26
27
28

                                                    20
                                                                                22-cv-593-MMA (MSB)
